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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                   NORFOLK DIVISION



 Alexander Quinton Horst,

               Movant,

 V.                                        Case No.: 2;15-cr-00046-MSD-DEM

 United States of America,

               Respondent.
                              /


                        MR. HORST'S REPLY TO THE GOVERNMENT'S
                        MOTION TO DISMISS HIS 28 U.S.C. § 2255


      Alexander Horst sought § 2255 claiming inter alia that his conviction
 for violating 18 U.S.C. § 924(c)(3)(B) violates due process since § 924
 (c)(3)(B) is constitutionally invalid. Mr. Horst identifies a fundamental
 flaw in the text of § 924(c)(3)(B), which renders the statute void.
 Significantly, the invalidity of the statute is facial thus cannot be

 procedurally defaulted or time barred (at least in an otherwise timely
 proceeding). Although in the context of § 924(e)(2), the Armed Career
 Criminal Act, the Supreme Court's decision in Johnson v. United States,
135 S.Ct. 2551 (2013), illuminates the constitutional flaw in § 924(c)(3)(B),
 Significantly, Mr. Horst*s timely § 2255 does not rely upon the Johnson
holding rather he claims that § 924(c)(3)(B) fails on its own lack of
constitutional merit.

      A facial challenge to the constitutionality of a statute implicates

both subject-matter jurisdiction and a miscarriage of justice, thus such a

claim is not subject to procedural default, express waiver, or timeliness
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 defenses. See generally, Ibited States v. Saac, 632 F.3d 1203, 1208 (11th Cir.
 2011); IMited States v. Palacios-Coquette, 55 F.3d 557, 561 (11th CLr. 1995).
 In this regard, Mr. Horst agrees the issue requires more formal briefing and

 requests the court issue a briefing schedule. Before delving further into the

 particulars of the motion to dismiss, Mr. Horst points the court to three
 decisions arising from the Eleventh Circuit that address the same procedural
 and substantive issues involved in this timely original § 2255 motion. In

 Jackson v. United States, No. 15-7915 (June 2016), the Supreme Court granted
 certiorari, vacated the Eleventh Circuit's opinion, and remanded the case. The
 issue presented by Mr. Jackson was whether a facial challenge to the
 constitutionality of a statute was subject to the procedural default doctrine.

 (Appendix "2"). In Sylvester v. United States, No. 14-212874-FF (11th Cir.
 2016), the Eleventh Circuit granted a certificate of appealability on the
 question of whether a person may waive a challenge to the validity of a criminal
 statute in a plea agreement. (Briefing and Oral arguments pending). And in
Duhart v. United States Case No. 16-61400-cv-MARRA, the Southern District of

Florida district court found § 924(c)(3)(B) unconstitutionally vague. Even in
Nfc. Duhart's successive § 2255 motion, the district court found a meritorious
substantively identical claim to that of Mr. Horst; the district court vacated
the § 924(c) conviction. (Appendix "l")*
     In sum, the decisional authority shows at a minimum the issues presented

by Mr. Horst are debatable and deserving of encouragement to proceed further,
rather than the government's proposed sutmiary disposition.
     Mr. Horst briefly touches on the government's current arguments in the
order presented.
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 1.   Analysis of Johnson claim

      The government inexplicably turas to 28 U.S.C. § 2255(f)(3) for guidance;
 "guidance of § 2255(f)(3) shows that [Horst] is premature in asserting rights
 that the Supreme Court has not yet recognized..." (Doc. 103, p.4). The
 government's arguments misperceive the nature of Mr. Horst's "Johnson" claim,
 he only mentions Johnson as illustrative of why § 924(c)(3)(B) is vague. Mr.
 Horst's § 924(c)(3)(B) challenge does not rely on the Johnson holding, he
 challenges the validity of the statute under the far more ancient rule that a

 criminal statute must be understandable by an ordinary citizen, i.e., a

 criminal statute which is vague is void.

      Admiittedly, if Mr. Horst's challenge was untimely and required (f)(3) to
 invoke the court's jurisdiction, then the government's response would be
 relevant. But Mr. Horst's habeas challenge is timely thus the government's
 (f)(3)-related argument is inapposite or frivolous.

 2.   Government Waiver of Procedural Defenses

      Mr. Horst disagrees with the government's suggestion that its deflective
 "motion to dismiss" does not constitute a waiver of its procedural defenses.
 (Doc. 103, pp. 11-12). The government had 60 days to raise the standard
 procedural defenses, instead the government chose to argue that Mr. Horst's
due process claim was incognizable (premature). Ihat election is the hallmark
of waiver.

      Mr. Horst does not waive the government's intentional abandonment of its
procedural defenses, i.e., the government waiver. Cf., e.g., Barreto-Barreto

V. United States, 551 F.3d 95, 98 (1st Cir. 2008); United States v. Rivera-

Pedin, 861 F.2d 1522 (11th Cir. 1988).
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 3.   Ineffective Assistance Analysis

      The government explains that neither the forfeiture claim nor the

 constitutional challenge give rise to a substantive claim of ineffective
 assistance of counsel. Mr. Horst acknowledges that a forfeiture challenge must

 be raised on direct appeal. That rule thou^ does not obviate his claim. Rather

 it requires the court to liberally construe Mr. Horst's allegations to
 determine if the allegations could make out a valid claim. Catherine Six, trial

 stage counsel, failed to properly object to the forfeiture at sentencing, then

 failed to advise Mr. Horst the forfeiture challenge (even for plain eirror) must
 be raised on direct appeal or it is lost. If Ms. Six had raised the objection,

 then either this court would have granted relief or Mr. Horst would have been

 alerted of the need to appeal.

      And, under any circvnnstance, Ms. Six failed to inform Mr. Horst of the

 consequences of not appealing, a breach of her duty and a classic example of
 deficient performance. See Roe v. Flor^-Ortega, 528 U.S. 470 (2000). If she
had advised Mr. Horst of the cognizability rule and the procedural default

doctrine, then he would have appealed. This court should return Mr. Horst to

 the status quo ante. Thereby, allowing him to perfect his objection at sentencing

and appeal under the harmless error standard.

      Mr. Horst acknowledges that, as the government presents it, the second

ineffective assistance claim would be incognizable since it would require Ms.

Six to be a soothsayer. But a fairer reading of Mr. Horst's — indisputably
pro se filing — would frame the claim differently than the government. Mr.

Horst alleges that, in the light of the developing jurisprudence, including a

then available Maryland District Court case seemingly on the same point of law

(§ 2255 Memo, p.7), Ms. Six should have recognized the validity and significance
of a facial challenge to the criminal statute,

                                        4
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      A defense attorney — any attorney for that matter — has a duty to

 argue for an extension of the law. An especially poignant duty when (1) the
 client has no other chance for a successful result and (2) the client has no

 potential harm from pursuing the attempted extension. Ms. Six should have
 raised the constitutional claim at both the district level and in the appeals

 court. Ms. Six's decision not to raise the claims lacks any strategic purpose.

 Mr. Horst could not have been prejudiced by an appeal, he deserved an

 opportunity to have the claim heard. He should be given that opportunity now.


                                     CONCLUSION

      This court should deny the government's motion to dismiss and either
 grant Mr. Worst's § 2255 motion or establish a formal briefing schedule, on
 the constitutional claim. FXjrther, the court should schedule both discovery

 and an evidentiary hearing for the other claims.

      Prepared with the assistance of Frank L. Amodeo and respectfully

 submitted on this 2nd day of November, 2016 by:




      Alexander Hofcst
      Reg.No.; 85574-083
      FCI Coleman Low
      P.O. Box 1031
      Coleman, FL 33521-1031

                               CERTIFICATE OF SERVICE

     The original motion was delivered to the prison mailing authorities on

 November 2, 2016 in a postage-prepaid, properly-addressed envelope for mailing
 to this court. A copy of the motion was sent by first class mail to the United

States via its attorney of record: William D. Muhir, Esq at 101 W. Main Street,

Suite 8000, Norfolk, VA 23510 contemporaneously.
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Case 2:15-cr-00046-MSD-DEM Document 107 Filed 11/10/16 Page 7 of 34 PageID# 463



 Alexander Horst
 Reg.No.: 85574-083
 FCI Coleman Low
 P.O. Box 1031
 Coleman, FL 33521-1031

                                                              November 2, 2016

 United States District Court
 Eastern District of Virginia
 Office of the Clerk



 Dear Clerk,

      I have included a self addressed, stamped envelope and a copy of the
 front page of my filing. Will you please date stampe this copy and return
 it to me in the envelope provided?


      Thank you for your time and assistance.


      Sincerely,



     Alexander Horst
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              No.                                                                                      QUESTION PRESENTED


                                                                    In 2011, in this Court. Mr. Jackson successfully challenged whether his prior

                                                                 convictions qualified as ACCA predlc.ites under 18 O.S.C. f924(e}(2)'B enumerated
                    IN THE
                                                                 clause. On remand,        the Eleventh Circuit reaffiraed the conviction, explicitly
   SDFREHE OODKT OF THE UNITED STATES
                                                                 finding the predicates qualified under the ACCA residual clause. In 2012, Mr.

                                                                 Jackson   filed   a     52255 notion clalnlng that the ACCA was       unconstitutionally

                                                                 vague. The district court denied the claio as procedurally defaulted. Despite

                                                                 this Court sua sponte raising the nearly identical question in Johnson v. Dnltcd
         Anthony Grant Jackson,
                                                                 States,   135   S.Ct.    2551   (2015),   the   Eleventh Circuit held that no   jurist of

                             Petitioner,                         reason would find debatable the district court's application of the procedural-

                                                                 default doctrine to foreclose review of the constitutional challenge.
               —versus—

                                                                    Does   this Court's declaring the ACCA residual clause void except a S22S5

                                                                 claim challenging the constitutionality of the ACCA residual clause from the
       United States of America,
                                                                 procedural default doctrine?

                             Respondent.




PETITIOH FOS A HKIT OF CERTIORARI ID THE
   ELEVERTH CIRCDIT CODBT OF APFEALS




 Court of Appeals Case No. I4-15100-D

         ********************




                              Anthony Grant Jackson
                              Reg. No. 27000-018 Unit A-4
                              Federal Correctional Cooplex Low
                              P.O. Box 1031
                              Coleman, Florida 33521-1031
                                                                                                                                                                                                          TABLE OF OONTEKTS
                                                                                                             LIST OF PASTIES INVOLVED
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                                                                                                                                                                                                                                                                         Page
                                                                                     All of tho parties to those proceedlng9 nre contained In the caption of the
                                                                                                                                                                   QUESTION PRESENTED                                                                                          1
                                                                                  ease.
                                                                                                                                                                   LIST OF PARTIES INVOLVED                                                                                i
                                                                                                                                                                   TABLE OF CONTESTS                                                                                      ii
                                                                                                                                                                   TABLE OF AUTHORITIES
                                                                                                                                                                   PETITION FOR WRIT OF CERTIORARI
                                                                                                                                                                   OPINIONS BELOV
                                                                                                                                                                   STATBffiNT OF JURISDICTION
                                                                                                                                                                   CONSTITUTIONAL AND STATUTORY PROVISIONS INVOLVED
                                                                                                                                                                   STATEMENT OF THE CASE AND COURSE OF THE PROCEEDINGS
                                                                                                                                                                   STATEMENT
                                                                                                                                                                   REASON FOR GRANTING THE WRIT
                                                                                                                                                                      1. This Court's decisions deaonatrate that tho procedural-default
                                                                                                                                                                         doctrine does not apply to a challenge to the consltutionallty of
                                                                                                                                                                         a     crlalnal    statute.     The     Eleventh     Circuit's       denial   of    Hr.
                                                                                                                                                                         Jackson's        application     for    a    certificate       of     appealahllitjr
                                                                                                                                                                         aaoctlons     a    district     court Judgnent,        which    is    in dlaaatric
                                                                                                                                                                         opposition to this Court's decisions.
                                                                                                                                                                      2. Habeas equitable traditions, Anerican fairness concepts, and this
                                                                                                                                                                         court's     decision    favor    considering any clnln sounding                   in   a
                                                                                                                                                                        Biscarriage of Justice as an exception to the procedural-default
                                                                                                                                                                         doctrine.                                                                                             7
                                                                                                                                                                   CONCLUSION                                                                                             11
                                                                                                                                                                                                                Appendices
                                                                                                                                                                   Appendix "A" - October 1, 2015 Motion for Reconslderotlon. 11th Circuit Court of
                                                                                                                                                                                     Appeals Opinion and Order.
                                                                                                                                                                   Appendix "B" - August 4, 2015, Eleventh Circuit Court of Appeals Order denying
                                                                                                                                                                                     the application for a Certificate of Appealablllty.
                                                                                                                                                                   Appendix "C" - August 6, 2015, The United States District Court for the Middle
                                                                                                                                                                                     District    of     Florida.      Orlando    Division,       denying        Motion    for
                                                                                                                                                                                     Reconsideration.
                                                                                                                                                                                                                     ill
                                                                                                                       li
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Appendix "D" - April 10.       2014,    Denial of     the   28   U.S.C.    52255 motion by       the                                   TABLE OF AUTHORITIES
               United States District Court for the Middle District of Florida,
               Orlando Division.
                                                                                                        Caae                                                                 Page
Appendix "E" - September       2011,     Eleventh   Circuit      Court    of    Appeals's   Opinion
                                                                                                        Alsendareii-Torres v. thiited States, 523 U.S. 224 (1998)                       9
               Affirming       the   Criminal Judgment After Remand              from the Supreme
               Court Granting Certlorarl             and    Vacating      the    Earlier    Eleventh    Bouolcy w. United States, 523 U.S. 614 (1998)                                   8
               Circuit Opinion.
                                                                                                        Bunkley w. Florida, 538 U.S. 835 (2003)                                         8
Appendix "F" - Letter     of    Supplemental       Authority     Submitted      to   the    Eleventh    Calderon v. Thotqisan, 523 U.S. 538 (1998)                                      9
               Circuit.
                                                                                                        Coleman v. Thompson, 501 U.S. 722 (1991)                                        8
Appendix "G" - December 2A, 2015, Motion for an Extension of Time to the Supreme                        Dcscanpa v. United States, 133 S.Ct. 2275 (2013)                                3
              Court to File a          Petition for a Writ of Certlorarl.
                                                                                                        Ex parcc Siebold, 100 U.S. 371 (1879)                                   11
                                                                                                        Fiorc w. White, 531 U.S. 225 (2001)                                         8
                                                                                                        Henderson V. United States, 133 S.Ct. 1121 (2013)                               7

                                                                                                        Barrcra v. Collins, 506 U.S. 390 (1993)                                     9
                                                                                                        Ins. Corp. of Ireland Ltd., v. Coapagnle des Bamltes de Gulnee,
                                                                                                        456 U.S. 694 (1982)                                                     10
                                                                                                        Johnson v. United States, 130 S.Ct. 1265 (2010)                             3
                                                                                                        Johnson v. United States, 135 S.Ct. 2551 (2015)                   4,5,6,12
                                                                                                        Johnson v. United States, 559 U.S. 133 (2010)                               6
                                                                                                       HcCoy V. United States, 266 F.3d 1245 (11th Cir. 2001)                   a
                                                                                                       NcQulggln V. Perkins. 133 S.Ct. 1924 (2013)                                  8
                                                                                                       Hurray w. Carrier, 477 US. 478 (1986)                                        6
                                                                                                       Sawyer v. Whitley, 505 U.S. 333 (1992)                                       9
                                                                                                       Schlup V- Delo, 513 U.S. 298 (1995)                                      8
                                                                                                       United States v. Gaudln, 515 U.S. 506 (1995)                             9
                                                                                                       United States v. Jackson, 440 Fed. Appx. 857 (11th Cir. 2011)        3,5,6
                                                                                                       United States V. Hlx, 628 F.3d 1341 (llth Cir. 2010)                     5
                                                                                                       United States v. Prldgeon, 153 U.S. 48 (1894)                           11
                                                                                                       United States v. Walker, 59 F.3d 1196 (llth Cir. 1995)                  11
                                                                                                       Willy V. Coastal Corp., 503 U.S. 131 (1992)                             10


                                                                                                                                             Citations

                                                                                                       llth Cir. R. 28(j) (2105)                                                7
                                                                                                       18 U.S.C. S922(g)(l)                                                passim
                                                                                                       18 U.S.C. §924(e)(2)                                                passim
                                                                                                       28 U.S.C. S1291                                                          2
                                                                                                       28 U.S.C. 52253                                                          1
                                                                                                       28 U.S.C. 52255                                                    passim

                                              iv
                                                                                                             PETITION FOR A WRIT OF CERTIORARl
                                                                                                                                                                           Invoked under 28 O.S.C. 11291. On or about December 24. 2015. Mr. Jackson sought
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                                                                                        Anthony Grant Jackson reBpectfully requests that a writ, of certlorari be          an extension of tine until February 1. 2016 to submit this petition for a writ
                                                                                     Issued to review the August 4, 2015 opinion of the United States Court of            of certlorari. At the time he submits this petition that motion remains pending.
                                                                                     Appeals for the Eleventh Circuit denying an application for a certificate of
                                                                                     appaolability on the question of whether his tinely 52255 Jahoson-llko challenge                     CONSTITOTIONAI. AND STATOTORT PROVISIONS INVOLVED
                                                                                     to his Armed Cnroer Crlmlnnl Act conviction can be procedurally defaulted.           28 O.S.C. 12253(c)(2)
                                                                                                                                                                          A Certificate of Appealabllicy may be issued under paragraph (1) only if the
                                                                                                                      OPINIONS BELOW
                                                                                                                                                                          applicant has made a substantial showing of the denial of a constitutional
                                                                                                                                                                          right.
                                                                                       The opinions of the lower courts are reproduced in full in the appendix.
                                                                                       On October 1, 2015, the United States Court of Appeals for the Eleventh
                                                                                    Circuit denied Mr. Jackson's motion for reconsideration. (Appendix "A").              18 O.S.C. 1924(e)(2)(B)
                                                                                       On August 4, 2015, the United States Court of Appeals for the Eleventh            A "violent felony" is an offense punishable by iaprlsonment for more than one
                                                                                    Circuit denied Mr. Jackson's application for a certificate of appealabillty.         year which "(I) has as an element the use. attempted use, or threatened use of
                                                                                    (Appendix "B").
                                                                                                                                                                         physical force against the person or another: or (11) is burglary, arson, or
                                                                                       On August 6. 2014, the United States District Court for the Middle District       extortion. Involves use of explosives, or otherwise Involves conduct that
                                                                                    of Florida denied Mr. Jackson's motion for reconsideration fron the denial of        presents a serious potential of physical Injury to another."
                                                                                    the 28 n.S.C. 12255 notion. (Appendix "C").
                                                                                      On April 10, 2014, the United States District Court for the Middle District                      STATiMEKr OF THE CASE AND COORSE OP THE PROCEEDINGS
                                                                                   of Florida, Orlando Division denied Mr. Jackson's 28 O.S.C. 12255 motion to
                                                                                                                                                                           In April of 2008, Anthony Grant Jackson was arrested by federal authorities
                                                                                   vacate. (Appendix "D").
                                                                                                                                                                        and charged with possession of a firearm by a convicted felon in violation of 18
                                                                                                                                                                        O.S.C. I922(k)(1}. On November 6, 2008, Mr. Jackson entered a guilty plea to the
                                                                                                               STATHIKHT OF JURISDICTION                                single count indictment. On March 17, 2009, the district court conducted
                                                                                      The United States District Court for the Middle District of Florida had           sentencing. After hearing arguments on whether Mr. Jackson violated the Armed
                                                                                   Jurisdiction over this case pursuant to 28 O.S.C. 12255.                             Career Criminal Act. the district court determined that Mr. Jackson had the
                                                                                      The United States Court of Appeals for the Eleventh Circuit had Jurisdiction      necessary qualifying predicates for an Armed Career Criminal Act sentence; the
                                                                                   over this case pursuant to 28 O.S.C. S22S3(c)(2). This Court's Jurisdiction Is       district court sentenced Mr. Jackson to a ISO-month term of Incarceration
                                  Case 2:15-cr-00046-MSD-DEM Document 107 Filed 11/10/16 Page 12 of 34 PageID# 468

 followed by 3 years of supervised released. On March 26, 2009> Mr. Jackson filed
                                                                                                      Jackson filed a reply on June 18, 2014, and on August 6, 2014, the district
hla notice of appeal.
                                                                                                      court denied Mr. Jackson's notion for reconsideration and denied a certificate
      On January   4,     2010,    the    United   States Court of Appeals for the Eleventh
                                                                                                      of appealabllity. (Appendix "C").
Circuit in case number 09-11602 affimed the ruling of the district court that
                                                                                                         On October 20, 2014, Mr. Jackson filed an application for a certificate of
Mr.     Jackson had      the   necessary predicate convictions to enhance his sentence
                                                                                                      appealabllity in the United States Court of Appeals for the Eleventh Circuit in
under the Amcd Career Criainal Act. Mr.                   Jackson sought ccrtlorori review in
                                                                                                      case nuaber 14-lSlOO^D.

thin Court.
                                                                                                         On August 4, 2015, the Court of Appeals denied Mr. Jackson's application for
      On October   21,    2011.        this   Court granted certiorarl,    vacated the Eleventh
                                                                                                      a COA. (Appendix "B"). On October 1, 2015, the Court of Appeals denied Mr.
Circuit's opinion, and reannded the case for the Eleventh Circuit to reconsider
                                                                                                      Jackson's motion for reconsideration. (Appendix "A").
Its opinion in the light of this Court's decision in Jobnaon v. Dnlted Stntes,
                                                                                                         On December 24, 2015, Mr. Jackson filed for a 3C-day extension until and
130 S.Ct.      1265 (2010). See United States v. Jackson, A&O Fed. Appx. 857                 (11th
                                                                                                      including February 1, 2016, in order to file a writ of certiorarl. (Appendix
Cir. 2011) (Reproduced in Appendix "E").
                                                                                                      "G"), especially In the light of this Court's ruling in another case styled
      On September 11.         2012.    the Court of Appeals concluded that although Mr.
                                                                                                      Johnson v. United States, 135 S.Ct. 2551 (2015), where this Court on its ovm
Jackson's predicates did not qualify under the ACCA's enumornted clause, they
                                                                                                     motion presented and resolved a claim nearly identical to Mr. Jackson, even
qualified under the ACCA's residual clause. Id.
                                                                                                      though Mr. Johnson had procedurally defaulted the claim.
      On November 20, 2012, Mr. Jackson filed a cotlon to vacate under 28 D.S.C.

12255, case number 6:12-cv-1740-Orl-31KRS.
                                                                                                                                           SIATEHENT
      On April 10, 2014, without an evidentiary hearing, the United States District

Court    for   the Middle District of Florida denied Mr. Jackson's S2255 motion.                        Throughout all of Mr. Jackson's proceedings (trial, appeal, certiorarl, on

Specifically, finding that this Court's decision in DescasipB v. United States,                      remand for certiorarl, and 52255) he argued that ha did not violote the Armed

133 S.Ct. 2276 (2013) was not retroactively applicable and that Mr. Jackson had
                                                                                                     Career Criminal Act. 18 O.S.C 11922(g)(1), 924(e)(2). A contention that was the

procedurally defaulted his claim that the Armed Career Criminal Act residual                         gravamen of Mr. Jackson's 52255 proceeding. The district court denied the 52255

clause vas unconstitutionally vague. (Appendix "D").                                                 motion but did so through a web of procedural rulings (some of which Mr. Jackson

     On May 5, 2014, Mr. Jackson filed a ewtion for reconsideration showing that                     will demonstrate are debatable or wrong) rather than through a merits testing.

the government conceded the retroactivity of the Dencoi^s rule, and emphasizing                      An analysis   of   the   district   court's orders reveals the district court's

the Jurisdlctional nature of the conatltutional challenge to the ACCA could not                      procedural rulings, however, were founded on the belief that Mr. Jackson's

be    procedurally defaulted.            On June    2,   2014,   the government responded.    Mr.    substantive claims wore not meritorious. "Finally, Fotitioner, who has prior
                                                                                    convlctlona for delivery of cocaine, robbery with a flrearn, and resisting an                                            REASONS FOR (SUUITIKC THE WRIT
Case 2:15-cr-00046-MSD-DEM Document 107 Filed 11/10/16 Page 13 of 34 PageID# 469




                                                                                    officer with violence, has not denonstrated that a manifest Injustice occurred
                                                                                                                                                                                The Eleventh Circuit concluded that no reasonable Jurist would debate whether
                                                                                    based on his sentencing pursuant to the ACCA." (Appendix "C", p.2). A decision,
                                                                                                                                                                          the procedural-default doctrine forecloses review of Ground Two, i.e.. the claim
                                                                                    in part, derived froB the Eleventh Circuit's express finding that the predicate
                                                                                                                                                                          that the ACCA's residual clause was unconstitutionally vague. The Eleventh
                                                                                    qualified under   the ACCA's residual clause.     In   the light of   this Court's
                                                                                                                                                                          Circuit's opinion          is    contradicted by this Court sua sponte raising the
                                                                                    decision in Johnson w. DnlCed States, 135 S.Ct. 2551 (2015), that preolse la
                                                                                                                                                                          procedurnlly-defaulted claln In Johnson v. Dnlted States, 135 S.Ct. 2551 (2015).
                                                                                    wrong.
                                                                                                                                                                          Further, the Eleventh Circuit's position is inconsistent with the established
                                                                                       In an exceedingly rare action, after hearing oral argument and denying Mr.
                                                                                                                                                                          rule that a claim implicating a miscarriage of Justice is excepted from the
                                                                                    Johnson relief, this Court ordered the parties in Johnson to brief and argue
                                                                                                                                                                          procedural-default doctrine. And likewise, that claln involving a challenge to
                                                                                    whether the   ACCA's residual clause is unconstitutional, alone, that unique
                                                                                                                                                                          subject-oatter Jurisdiction is not subject to a procedural-default defense.
                                                                                    procedure establishes that reasonable Jurists would debate the district court's
                                                                                    ruling in Mr. Jackson's cose on the question whether the ACCA's residual clause
                                                                                                                                                                          1. This Court's decisions demonstrate that the procedural-default doctrine does
                                                                                    is unconotltutlonally vague. In Mr. Jackson's case the law of the case doctrine          not apply to s challenge to the consltutlonallty of a criminal statute. The
                                                                                                                                                                             Eleventh Circuit's denial of Hr. Jackson's application for a certificate of
                                                                                   provides that Mr. Jackson is only guilty of violating the ACCA because of the             appealablllty sanctions a district court Jiidgnent, which is In diaoetric
                                                                                                                                                                             opposition to this Court's decisions.
                                                                                   ACCA's residual clause. United States v. Jackson, A40 Fed. Appx. 857 (Ilch Cir.
                                                                                   2011) (after remand affirming based on the residual-clause holding articulated           In 2011,          this Court granted Mr. Jackson's petition for certlorari, vacated
                                                                                   In DnlCed States v. Hi*, 628 F.3d 1341 (llth Cir. 2010)). This Court's inquiry        the Eleventh Circuit Court of Appeals's order, and remanded the matter to the
                                                                                   into the ACCA's constitutionality provides a classic example of when reasonable       appellate court for reconsideration in the light of Johnson w. United States,
                                                                                   Jurists would find debatable the district court's resolution of the challenge to      559 U.S.        133 (2010). United States t. Jackson, 4i0 Fed. Appx. 857, 858 (llth
                                                                                   the ACCA's constitutionality.                                                         Cir. 2011) (unpublished). The Eleventh Circuit held, "(ojn reconsideration, we
                                                                                      Equally significant, this Court's decision extinguishes the legal foundation       affirm, once again, Jackson's sentence. A crice is a 'violent felony' under the
                                                                                   for the Eleventh Circuit's original affinnation of Mr. Jackson's conviction,          ACCA     if     it   satisfies    the   residual   clause     of    the   statute   ....   18   O.S.C.
                                                                                   thus, at a mlnlBuo, Mr. Jackson's initial claim is resolved in his favor (I.e.,       S924(e)(2)(B)" Id at 858. (Reproduced In Appendix "E").
                                                                                   the ACCA is vague) and reason suggests he should be allowed to further develop           In 2012, Mr. Jackson sought to vocate his criminal Judgment under 28 D.S.C.
                                                                                   his claims by briefing    the issues on what the consequences of the ACCA's           §2255.        (Appendix   "D").    Ground Two      of   the        12255 motion     challenged     the
                                                                                   nullification are on preexisting Judgments, and whether the procedural default        constitutionality of the Armed Career Criminal Act. (Appendix "B", p.2).
                                                                                   doctrine applies when the statute is eradicated.
                                                                                       In 2014, the district court denied Mr. Jackson's Ground Two challenge becausc            whether the obstacles were judicially created or statutorlly mandated. See e.g.,
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                                                                                    Mr. Jackson did not raise the challenge on direct appeal. (Appendix "C"). Stated            HcQulggln V.       Perkins,      133 S.Ct.    1924   (2013)    (actual Innocence overrides the
                                                                                    otherwise, the district court held that Mr. Jackson had forfeited the claim that            statute of     limitations); Coleraan v. Thompson, 501 U.S. 722, 750 (1991)                         (a
                                                                                    the ACCA residual clause was facially unconstitutional. Mr. Jackson appealed.               miscarriage of       Justice permits "abusive'            petitions;    asserting In         a second
                                                                                       In 2015, the Eleventh Circuit sanctioned the district court Judgnent, not                petition a claim that could have been raised in an earlier petition); Hurray v.
                                                                                    only by denying the COA,        but also expressly stating, "the district court             Carrier, 477 U.S. 478, 496 (1986)               (The Court recognized the miscarriage of
                                                                                    properly determined that Grounds 2, 3, 5, and 7 were procedurally defaulted                 Justice exception as an alternative basis for excusing procedural default, where
                                                                                    becausc Jackson did not raise then on direct appeal, and did not demonstrate                a constitutional violation has probably resulted In the conviction of one who is
                                                                                    either cause for falling to raise the claims and prejudice resulting froo the              actually Innocent, a federal habeas court may grant the writ even in the absence
                                                                                    alleged error, or a fundamental miscarriage of Justice excusing the procedural             of a showing of cause for procedural default.). Those decisions "seek to balance
                                                                                    default. (Appendix "B", p.2).                                                               the social interests in finality, comity, and conservation of scarce Judicial
                                                                                       On or about July 2, 2015, Mr. Jackson brought this Court's June 25, 2015                resources     with    (the)       individual   Interests       in Justice   that    arises     in   the
                                                                                   Johnson   decision   to   the    Eleventh   Circuit's   attention   via   a   letter   of   extraordinary case" where an innocent person has been Incarcerated. Schlup v.
                                                                                   supplemental authority. 11th Cir. R. 28(J) (2015); (Appendix "F"). The appeals              Delo,   513    U.S.        298    (1995).   Mr. Jackson's       facts   reveal     two exceptional
                                                                                   court, however, disregarded not only the substantive application of this Court's            circumstances       that    are    recognized as a miscarriage of Justice;              (1) actual
                                                                                   holding, but also ignored the laplication that Jurists of reason could disagree             Innocencc     and    (2)    the imposition of an        unlawful sentence;         either of which
                                                                                   with the district court's resolution of the vagueness challenge.                            excepts Mr. Jackson's 52255 ACCA challenge from the procedural-default doctrine.
                                                                                      At the tine of the appeals court's decision denying the application for COA,
                                                                                                                                                                                  (A) In order for a person to be guilty of a crloe, the government miot prove
                                                                                   this Court had established that reliance on the residual clause (now or ever)                       each element of the crlse beyond a reasonable doubt. If the govamnient
                                                                                                                                                                                       does not, then the Constitution presuaes the Individual Is actually
                                                                                   was plain error. The Eleventh Circuit should have applied the law as it existed                     Innocent of the crine. The Inprlsoneent of an actually Innocent person Is
                                                                                                                                                                                       a miscarriage of Justice.
                                                                                   at the tine of its review, not at the time of the district court's decision. See
                                                                                                                                                                                  The government must prove every element of the crime by the constitutionally-
                                                                                   Henderson v. United States, 133 S.Ct. 1121 (2013).
                                                                                                                                                                               required criteria, otherwise the Constitution presumes the accused Innocent. See
                                                                                                                                                                               Bunkley v. Florida, 538 U.S. 835 (2003); More ». Hhlte, 531 U.S. 225 (2001) (if
                                                                                   2. Habeas equitable traditions. Aserlcan fairness concepts, and this court's
                                                                                      decision favor considering any clala sounding in a nlscarrlage of Justice as             an element of the crime is not established, the defendant is not guilty of the
                                                                                      an exception to the procedural-default doctrine.
                                                                                                                                                                               crime). Me recognize that actual Innocence has                     two dimensions;      (1)    legal
                                                                                      This Court has repeatedly applied the miscarriage of Justice exception to                sufficiency of the evidence; and (2) factual innocence. See Bouslcy v. United
                                                                                   allow habeas petitions to overcone procedural restrictions and tine linitatlons
                                                                                                                               7
                         Case 2:15-cr-00046-MSD-DEM Document 107 Filed 11/10/16 Page 15 of 34 PageID# 471

                                                                                   Constitution by granting the writ, vacating the Eleventh Circuit's opinion, and
States, 523 U.S. 614. 622 (1998). In the contcxt of a challenge asserting that,
                                                                                   remanding the case with instructions.
as a matter of law, as opposed to a matter of fact, the conviction occurred: we
believe the two dimensions merge into a single concept. Cf Calderon v. Thonpson.         (B) If a court imposes an unauthorised sontence. then the court oxcoedn its
                                                                                             Bubjcct-matter Jurlndictloo, and ouch a Judgsont is void fron inception.
523 U.S. 538, 559-60 (1998) (describing the actual innocence principles in the                 The enforcement of a void or unlawful crlalnal Jud^icnt conotltutcs a
                                                                                               miocxirriage of Jootice, and a •Iscarriage                of Justice always excuses a
context of comparing previously unavailable facts with an existing factual                     procedural default.

record that established guilt). Significantly, in the current context (where             A    federal     court's    lubjcct-matter       Jurisdiction        (that   Is,   its    statutory

legal Innocencc equates to factual innocence) adoption of any other definition     authority        and    power     to     adjudicate    a    matter)   is    conferred     solely     by   a

would allow an entity other than a Jury to convict the accused; a practice         constitutionally valid act of Congress. Willy v. Coastal Corp.. 503 U.S. 131.

anathooa to the Constitution. United States v. Candln, 515 U.S. 506. 522-26        136-37 (1992); In. Corp. of Ireland Ltd.. v. Cospagnie des Bauzltea de (kilBee,

(I995)i cf. see Almendarex-Torreo w. Onitod Statcn, 523 U.S. 224 (1998).           456       U.S.   694   (1982).    For     a   violation     of 18 O.S.C.      f922(g)(l).      92A(e)(2),

   A bona fide clain o£ actual Innocence is a miscarriage of justice, which must   Congress authorized a federal court to impose as ouch as a 10-year term of

be addressable by some federal court. "This rule, or fundamental miscarriage of    Imprisonment. A longer aentonce was possible only if the government proved two

justice exception, is grounded in the equitable discretion of habeas courts to     facts: (1) the existence of three qualifying predicate convictions; and (2) that

see that federal constitutional error docs not result in the incarceration of      the convictions occurred on separate occasions. In Mr. Jackson's case, neither

innocent persons." Uerrero v. CoUlns. 506 U.S. 390, 404-05 (1993); Sawyer v.       fact was properly proven by the government.

Whltloy, 505 U.S. 333 (1992). Correspondingly, a shoving of actual innocence is          A dircct consequence of the                 Invalid proof   is that the original district

a miscarriage of Justice, which excuses any procedural default and overcomes any   court's statutory penalty authority (i.e.. subject-matter jurisdiction over the

technicality that vould prevent an adjudication of a habeas petition's merits.     penalty adjudication) was limited to a maximum sentence of 10 years, rather than

   Although the fact of three qualifying convictions need not be submitted to      the       life   aentenco   the        original    court    erroneously     bellovod     possible.    The

the Jury or admitted by the defendant, since the fact dramatically alters the      sentencing court could no more have Imposod a sentence greater than 10 years

district court's sentencing authority, that "fact" is still an element of the      (Including the 15-year sentence imposed) than it could have ordered Mr. Jackson

crime. Consequently,    since the elemental fact was decided wrong, the            horse whipped.

Constitution requires all courts to presume Mr. Jackson innocent; which In turn          Significantly, this example reveals the Jurisdictional nature of the claim.

creates a miscarrlage-of-Justice claim that generates an equitable exception to    The district court could not impose a penalty greater than ten years even if Mr.

any procedural default that would otherwise foreclose his claim.                   Jackson had invited it. The hallmark of a jurisdictional challenge la one that

   Mr. Jackson is actually innocent of violating 18 O.S.C. il922(g)(l)>            cannot be waived by the parties.

9Z4(e)(2), thus he should not serve more than 10 years in prison; his current
detention is Illegal and this Court should fulfill its duties under the                                                                   10
                                        9
                                                                                       The district court's punishment was not Just erroneous, but unlawful. See Ex    Armed Career Criminal Act violation, and serving a prison sentence beyond the
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                                                                                    partc Slebold, 100 U.S. 371 (1879) ("Although a court may have original            otherwise applicable statutory maximum. As this Court long ago established a
                                                                                    Jurisdiction, If It makes a decree not within the powers granted to It by law.     habeas   corpus    should   address   the merits of   a   procedurally-defaultod claln,
                                                                                    Chen that decree Is void."); Cf. also Ooltcd States v. Walker, 59 F.3d 1196,       which, if uncorrected, results in a miscarriago of Justice.
                                                                                    U98 (11 th Cir. 1995) ("We could think of no plainer error than to allow a            Moreover, this Court sua sponte raised a nearly identical question in Johnson
                                                                                    conviction to stand under a statute which Congress was without power to enact").   w. Baited States, 135 S.Ct. 2551 (2015), thereby Indication by example that the
                                                                                    Consequently, upon Judicial review, Mr. Jackson's Judgaent is either void In its   claim is Jurlsdictlonal and not subject to procedural default.
                                                                                    entirety and should not be enforced at all, or it oust be refomed to cure the         This Court should grant the petition,         issue the writ, vacate the Eleventh
                                                                                    Jurlsdictlonal deficiency. See McCoy v. United States, 266 F.3d 1245, 1264 (llth   Circuit's opinion, and remand to the Court of Appeals with directions to order
                                                                                    Cir. 2001)   (citing Dnited States v. Frldgeon, 153 U.S. 48, 62 (1894). In this    the district court to adjudicate the timely 12255 claim without regards to Mr.
                                                                                    instance, the district court should either have vacated the criminal Judgment      Jackson's failure to raise the claim in his direct appeal. Alternatively, this
                                                                                    altogether or reduced the sentence to no more than the 10-ycar statutory           Court should either grant a certificate of appealability or order the Court of
                                                                                   oaxiauo, that is, the outer Unit of the district court's penalty authority          Appeals to do so.
                                                                                   based on the valldly proven facts.
                                                                                      Habeas equitable traditions, American fairness concepts, and this Court's           Prepared by Frank L. Asodeo and respectfully submitted on this 19th day of
                                                                                   precedent favor considering any miscarriage of Justice claim despite an earlier     January 2016 by;
                                                                                   procedural default. Mr. Jackson's sentence is fundamentally defective since it
                                                                                   exceeds the lawful maximum. Mr. Jackson's conviction is a miscarriage of
                                                                                                                                                                            L. Amodeo                                        An^ibny tUadtrJockson
                                                                                   Justice,   since the government did not prove the elements of the crime, Mr.                                                              Reg. No. 27000-018    Unit A-4
                                                                                                                                                                                                                             Federal Correctional Complex Low
                                                                                   Jackson's claim cust be heard despite his failure to raise it earlier.                                                                    P.O. Box 1031
                                                                                                                                                                                                                             Coleman. Florida 33521-1031
                                                                                                                        OONCLDSION
                                                                                                                                                                                                        CEBTinCAIE OF SERVICE
                                                                                      The Eleventh Circuit entered an opinion that validated a district court's          This petition was delivered in a pre-addresaed, postage-paid envelope to the
                                                                                   departure from   the usual application of the procedural-default doctrine. The      prison mailing authorities on         the same day as signed. The United States of
                                                                                   deviant application of the procedural-default rule perpetuates a miscarriage of     America's attorney of record is registered with the CM/ECF docketing system:
                                                                                   Justice, since Mr. Jackson's claim indicates he is actually Innoccnt of the         thus the petitioner requests that notice of the filing and service of this
                                                                                                                                                                                                                   12
                                                                                                                            11
                                                                                   potltlon on the Oniccd States occur through chat           'b electronic lacdiura.
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                                                                                                                                              Cr inti J
                                                                                                                     VERiriCATIOH
                                                                                      Under penalty o£ perjury as authorized In 28 D.S.C. 517A6, I declare that the
                                                                                   factual allegations and factual stateoents contained in this docunent are true
                                                                                   and correct to the best of ay knowledge.
                                                                                                                                    Antboin   cJtr incVjaekson
                                                                                                                          13
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                                                                                                  No.    15-7915
                                                                                                                                                                    QUESTION PRESENTED
                                                                                                                                           Whether       petitioner     is     entitled    to     seek   post-conviction
                                                                                   IN THE SUPREME COURT OF THE UNITED STATES          relief     under   28   U.S.C.    2255     based    on    his   claim   that   he    is
                                                                                                                                      "actually     innocent"     of    his     noncapital      sentence      because     his
                                                                                                                                      sentence    was    enhanced      under    the   Armed     Career   Criminal    Act's
                                                                                      ANTHONY GRANT JACKSON,       PETITIONER
                                                                                                                                      residual clause.
                                                                                                        V.
                                                                                           UNITED STATES OF AMERICA
                                                                                     ON PETITION FOR A WRIT OF CERTIORARI
                                                                                    TO THE UNITED STATES COURT OF APPEALS
                                                                                          FOR THE ELEVENTH CIRCUIT
                                                                                        BRIEF FOR THE UNITED STATES
                                                                                                   DONALD B. VERRILLI,          JR.
                                                                                                        Solicitor General
                                                                                                          Counsel of Record
                                                                                                   LESLIE R.       CALDWELL
                                                                                                        Assistant Attorney General
                                                                                                   DAVID B.    GOODHAND
                                                                                                        Attorney
                                                                                                        Department of Justice
                                                                                                        Washington, P.O. 20530-0001
                                                                                                        SupremeCtBriefsgusdoj.qov
                                                                                                        (202) 514-2217
                                                                                                                                                                               (I)
                                                                                                    IN THE SUPREME COURT OF THE UNITED STATES
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                                                                                                                                                                                                           JURISDICTION
                                                                                                                                                                                The judgment of the court of appeals was entered on August
                                                                                                                         No.   15-7915
                                                                                                                                                                           4, 2015. A petition for rehearing was denied on October 1, 2015
                                                                                                         ANTHONY GRANT JACKSON,           PETITIONER
                                                                                                                                                                            (Pet. App. A2).        On January 13, 2016, Justice Thomas extended
                                                                                                                               V.
                                                                                                                                                                           the time within         which to      file a petition for         a writ of
                                                                                                                 UNITED STATES OF AMERICA
                                                                                                                                                                           certiorari to and including February 1, 2016.              The petition was
                                                                                                                                                                           filed on January 19, 2016.          The jurisdiction of this Court is
                                                                                                     ON    PETITION FOR A WRIT OF CERTIORARI
                                                                                                                                                                           invoked under 28 U.S.C. 1254(1).
                                                                                                     TO THE UNITED STATES COURT OF APPEALS
                                                                                                                FOR THE ELEVENTH CIRCUIT                                                                   STATEMENT
                                                                                                                                                                                 Following a guilty plea in the United States District Court
                                                                                                                                                                          for the Middle District of Florida, petitioner was convicted of
                                                                                                               BRIEF FOR THE UNITED STATES
                                                                                                                                                                          being a felon in possession of a firearm, in violation of 16
                                                                                                                                                                          U.S.C. 922(g)(1).    The district court sentenced petitioner to 15
                                                                                                                     OPINIONS BELOW
                                                                                                                                                                          years of imprisonment pursuant to the Armed Career Criminal Act
                                                                                          The opinion of the court of appeals                 (Pet. App.   B2-B6)' is     of 1984 (ACCA), 18 U.S.C. 924(e).           The court of appeals affirmed
                                                                                   unreported.           The     order    of        the   district     court   denying    petitioner's sentence, concluding that his prior conviction for
                                                                                   petitioner's motion to vacate his sentence pursuant to 28                    U.S.C.    resisting an officer with violence qualified as a violent felony
                                                                                   2255   (Pet.   App.    D2-D7)    is also unreported.          Prior opinions of       under the ACCA's "elements clause," 18 U.S.C. 924(e)(2)(B)(i).
                                                                                   the court of appeals          in petitioner's case are available at 440               See 355 Fed. Appx. 297 (per curiam) .             This Court vacated the
                                                                                   Fed. Appx. 857 and 355 Fed. Appx. 297.                                                court     of   appeals'      decision     and     remanded    for     further
                                                                                                                                                                         consideration in light of (Curtis) Johnson v. United States. 559
                                                                                                                                                                         U.S.    133 (2010).   562 U.S.       1128.      On remand,   the court of
                                                                                            The appendix to the petition for a writ of certiorari is                     appeals affirmed petitioner's sentence, relying instead on the
                                                                                   not consecutively paginated.   This brief refers to the pages in
                                                                                   each lettered appendix as if they were consecutively paginated.                       ACCA's residual clause,       18 U.S.C.      924(e)(2)(B)(ii).      440 Fed.
                                           Case 2:15-cr-00046-MSD-DEM Document 107 Filed 11/10/16 Page 21 of 34 PageID# 477



 Appx. 857 {per curiara).                     This Court denied a petition for a writ                               "violent            felony"        to      include            "any     crime          punishable        by

 of certiorari.               132 S.        Ct.   1132.                                                             imprisonment          for     a    term     exceeding          one     year        * ♦ ♦       that     —

            Petitioner         subsequently              moved       under       28    U.S.C.         2255    to       (i) has as an element the use,                       attempted use,           or threatened use

 vacate           his     sentence.          The     district         court       denied       the    motion.       of physical           force       against     the person of another;                     or    (ii)     is

 Pet. App. D2-D7.                 The court of appeals affirmed.                         Id. at B2-B6.              burglary,       arson,        or extortion,             involves use of explosives,                    or

            1.       a.      Following an investigative stop of petitioner in                                       otherwise       involves           conduct     that          presents      a    serious       potential

 Orlando,           Florida,      law enforcement              officers          found    a    loaded       .22-    risk of physical injury to another."                                 18 U.S.C.         924(e)(2)(B).

 caliber           revolver       on       his     person.            Presentence             Investigation         Subsection (i)             is known as the elements clause.                        The second half

 Report           (PSR)    15.       A federal grand jury in the Middle District                                   of Subsection           (ii)       ("or otherwise involves conduct that presents

of     Florida            returned     a    one-count       indictment           charging       petitioner         a     serious        potential       risk     of    physical          injury to another")               is

with being a felon in possession of a                                     firearm,     in violation of             known as the residual clause.                       See Johnson v.              United States,         135

18     U.S.C.            922(g)(1).          PSR     1    1.         Petitioner          pleaded       guilty      S. Ct. 2551,          2556     (2015).

without a plea agreement.                         PSR I 2.                                                                 The     Probation           Office     concluded             that       petitioner's      prior

            The     Probation         Office        noted       that        petitioner          had     prior      conviction for delivery of cocaine was a "serious drug offense"

convictions for delivery of cocaine, robbery with a firearm,' and                                                  and     his     prior        convictions           for        robbery    with      a    firearm        and

resisting an officer with violence.                                  PSR 11 28-31.               Under the         resisting an officer with violence were "violent felon[ies)" and

ACCA,        a    defendant convicted of a Section 922(g)                              offense who has             thus    petitioner           qualified        for    an       enhanced sentence             under      the

at   least          three     prior        convictions         for    a    "violent       felony"       or    a    ACCA.        PSR 1    21;    PSR Addendum i         1.

"serious            drug     offense"         is     subject          to     a    mandatory          minimum               As    relevant        here,      petitioner objected                to the        use of his

sentence of 15 years of imprisonment and a maximum sentence of                                                     prior conviction              for    resisting           an    officer      with    violence      as    a

life        imprisonroent.           18     U.S.C.       924(e)(1).              The   ACCA defines           a    predicate offense.                 2/20/09 Sent. Tr. 4-9, 14-21, 30-34, 38-40.

                                                                                                                   The    district        court       concluded        that       the    offense       was    a   violent
        '        Along     with    the       armed-robbery            offense,         petitioner           was
                                                                                                                   felony under the ACCA's elements clause and sentenced petitioner
convicted            of     aggravated            battery       and        armed       burglary        of     a
dwelling;           all of those convictions derived from the same March                                           as an armed career criminal to 15 years of imprisonment,                                         to be
15, 1991, arrest.                 PSR 1 29.
                                  Case 2:15-cr-00046-MSD-DEM Document 107 Filed 11/10/16 Page 22 of 34 PageID# 478


  followed by three years of supervised release.                                     Id.       at   36-37,         conviction for resisting an officer with violence qualified as a

 46-47.                                                                                                            violent felony under the residual clause.                                  Id. at 8-9.

         b.      The court of appeals affirmed.                          355      Fed.     Appx.       297.                  The court of appeals again affirmed petitioner's sentence.

 The court held that the Florida offense of resisting an officer                                                   440       Fed.    Appx.        857        (per    curiam).         The     court       concluded      that

 with violence "involves the                     'use,       attempted use,          or threatened                petitioner's             prior           conviction        for     resisting       an     officer      with

 use     of    physical       force       against        the       person    of    another'"            and       violence          is a     violent             felony under the ACCA's residual                    clause

 therefore          qualifies        as     a    violent       felony       under         the       ACCA's        because           it    "involve[d]               conduct        that     present[ed]       a     serious

 elements           clause.                       at         299      {quoting            18        O.S.C.        potential          risk        of       physical     injury        to    another."         Id.    at    859

 924(e) (2) (BXi)).                                                                                               (citation omitted).

         c.     After     the     court          of     appeals       affirmed        petitioner's                          2.      a.      On November              20,   2012,      petitioner filed a             motion

 sentence on direct            appeal,          this Court         held in     (Curtis)          Johnson          to vacate his sentence under 28 U.S.C.                                  2255.     Pet. App.      B2.     In

 that the ACCA's elements clause is triggered only if the statute                                                 his        motion,             petitioner            claimed            that      the      ACCA         was

of conviction requires "violent force — that is,                                    force capable                 unconstitutionally                      vague.       The    government           argued     that       this

of causing physical pain or injury to another person."                                         559 U.S.           argument          had    been           procedurally        defaulted           because     petitioner

at 140.        This Court granted a petition for a writ of certiorari                                             failed . to raise it at                    trial or on direct appeal.                     12-cv-0n46

in     petitioner's       case,       vacated          the    decision       of    the         court    of    Docket             entry     No.        4     (Jan.    13,     2013)        (discussing      petitioner's

appeals,       and    remanded        for       further      consideration           in        light    of    claim 2) .             The district court agreed that the argument had been

(Curtis)       Johnson.       562 U.S.      1128.                                                             procedurally defaulted and that petitioner had "not demonstrated

        d.     On    remand,      the       government         argued       that     the        Florida       cause          and     prejudice              to     overcome     his       procedural       default       nor

crime    of    resisting       an officer             with   violence       "requires           violent       '    ♦    *     established he is actually innocent."                                Pet. App.       D4; see

force" and "categorically is a                    'violent felony'           under t(Curtis)1                 id.       at       D3-D5.     The       court        relied on McKay v.             United States,         657

Johnson's construction of                 the elements clause."                See    12-cv-01746             F.3d 1190             (11th Cir.            2011),    cert, denied,          133 S.    Ct.    112    (2012),

Docket       entry No.    4-3,       at   2-8     (M.D.      Fla.    Jan.    31,     2013).            The    for the proposition that "a petitioner must establish that he is

government          argued      in        the     alternative           that         petitioner's             factually Innocent of one of his prior convictions to establish
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                                                                                                                                                                   8

 application               of     [the]         fundamental            miscarriage             of     justice    vague      had     been    "procedurally          defaulted          because        (he]     did       not

 exception           to     overcome         (aj     procedural           bar     for        [a]    claim of     raise      (it)    on     direct    appeal,       and        did    not   demonstrate               either

 sentencing          error        based      on         (a)     career       offender         designation."      cause for failing to raise the claim[]                             and prejudice resulting

 Pet.    App.        D4.        The court declined to grant                        a certificate of              from the alleged error,                 or a fundamental miscarriage of justice

 appealability             (COA).         Id.      at     D6.        Petitioner requested a               COA    excusing the procedural default."                        Id.       at B4.       The court cited

 from the court of appeals.                        Id. at B2.                                                    McKay,     supra,       in which     it had previously held that                       a     prisoner

         b.     On April 21, 2014, this Court granted a petition for a                                           had     not       demonstrated          "actual        innocence"           for     purposes           of

 writ of certiorari in Johnson v.                              United States,           No.    13-7120,    to    establishing        a     fundamental          miscarriage          of    justice         where       the

decide whether the Minnesota offense of unlawful possession of a                                                 prisoner had "ma(de)             the purely legal argument that                        * * *          his

short-barreled shotgun qualified as a "violent felony" under the                                                prior conviction for carrying a concealed weapon should not have

ACCA's residual clause.                      134 S.           Ct.    1871.      On January 9,           2015,   been classified as            a    'crime of violence'               under      the Guidelines,"

following briefing and oral argument on that issue,                                                the Court    but did not attempt to prove "that he did not actually commit

restored       the case           to the        calendar for             reargument and directed                the crime of carrying a concealed weapon."                            657 F.3d at 1199.

the parties to file supplemental briefs addressing the question                                                        In light of its holding on procedural default, the court of

"(w)hether                the      residual              clause          in      the          [ACCA]       is   appeals        concluded      that       "reasonable           jurists          could      not        find

unconstitutionally vague."                         135 S. Ct.           939.     On June 26,            2015,   debatable the district court's resolution" of petitioner's ACCA

this         Court         held       that         the        ACCA's         residual          clause      is   claim.      Pet. App. B6.

unconstitutionally                vague      and        that        "[i]ncreasing        a     defendant's             d.      On April 18, 2016, this Court held in Welch v. United

sentence under the clause denies due process of law."                                               Johnson,    States,     No.     15-6418,        slip    op.,       that     Johnson      announced           a    new

135 S. Ct. at 2557.                                                                                             substantive         rule     that     has       retroactive          effect        in      cases       on

        c.     On August 4, 2015, without requesting a response from                                            collateral      review.      Id.    at    15.

the     government,             the    court            of      appeals        denied        petitioner's                                                  DISCUSSION


application for a COA.                       Pet. App.           B2-B6.        The court concluded                     Petitioner        contends        (Pet.     8-12)        that,      in      light      of      the

that    petitioner's              claim that             the ACCA was            unconstitutionally             Court's holding in Johnson v.                    United States,            135 S.       Ct.      2551,
                                                                                                                                                                                                                                                               10
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                                                                                    2SS7      (2015),         that     the       residual        clause           is     unconstitutionally               violence satisfies the ACCA's elements clause —                                   a question it
                                                                                    vague, he is "actually Innocent o£ the Armed Career Criminal Act                                                      left    open        after     this       Court       remanded       petitioner's         case     for
                                                                                    violation"          and     is     thus      currently           "serving           a    prison       sentence        further       consideration in                light of       (Curtis)      Johnson v.        United
                                                                                    beyond the otherwise applicable statutory maximum."                                                Pet.   11-12.      States. 559 U.S. 133 (2010) ~                       petitioner is under a sentence of
                                                                                    Although         petitioner              procedurally              defaulted              his        vagueness        imprisonment that exceeds the statutory maximum terra authorized
                                                                                    challenge to the ACCA's residual clause by falling to raise it                                                        for his       offense.        Petitioner can therefore make a                         substantial
                                                                                    on     direct       appeal,        and       although        the        government            asserted         the    showing       of    the     denial       of    a     constitutional         right.        And the
                                                                                    defense        of    procedural              default        in     response              to     petitioner's         government is, in light of Johnson and Welch, expressly waiving
                                                                                    Section       2255     motion       in    January          2013,        the    legal          landscape        has   the     affirmative          defense       of       procedural       default.          This      Court
                                                                                   changed drastically since                       then.        On June           26,       2015,      this Court        should grant the petition for a writ of certiorari, vacate the
                                                                                   held     that        the     ACCA's        residual          clause        is        unconstitutionally               judgment below, and remand this case for further proceedings in
                                                                                   vague,        Johnson,      135 S. Ct.           at 2557,          and on April 18,                  2016,      the   light of the government's position and in light of Welch.
                                                                                   Court      held       that        the     new        rule     announced              in    Johnson         is     a           1.      "Determining          whether         a    COA   should       issue      where    the
                                                                                   substantive           rule        that     has       retroactive           effect              in    cases      on    petition was dismissed on procedural grounds has two components,
                                                                                   collateral review,                Welch v.       United States,            No.        15-6418, slip op.               one directed at              the    underlying constitutional                  claims      and one
                                                                                   15.      The    United States did not                       invoke procedural default                        as a     directed at the district court's procedural holding."                                     Slack v.
                                                                                   basis for        denying a          COA in the court                of appeals,                nor does the           HcDaniel,       529    U.S.        473,    484-465         (2000).         "When   the    district
                                                                                   government seek to raise such an argument at this stage of the                                                        court    denies a          habeas     petition on            procedural       grounds without
                                                                                   proceedings.               Rather,       as     in    Welch,        the        government            expressly        reaching the prisoner's underlying constitutional claim,                                      a COA
                                                                                   waives that affirmative defense.                                                                                      should issue when the prisoner shows, at least, that jurists of
                                                                                           The     court       of    appeals        upheld        petitioner's                ACCA       sentence        reason       would    find    it     debatable         whether       the   petition      states     a
                                                                                   under     the     residual          clause.            440        Fed.    Appx.           857,      859      (per     valid claim of             the denial          of a       constitutional       right     and that
                                                                                   curiam).         Accordingly,             unless       the    court        of        appeals        concludes         jurists of reason would find it debatable whether the district
                                                                                   that petitioner's prior conviction for resisting an officer with                                                      court was correct in its procedural ruling."                               Id. at 484.
                                                                                                                                  11                                                                                12
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                                                                                           2.      Petitioner can satisfy both of those showings.                              habeas case; finding waiver of statute of limitations defense);
                                                                                           a.      The district court denied petitioner's claim that the                       Bryant v. Warden, 738 r.3d 1253, 1261 (11th Cir. 2013)               (same as
                                                                                   ACCA's        residual      clause       was        unconstitutionally      vague      on   to procedural default) .
                                                                                   procedural grounds, concluding that petitioner did not raise the                                    Accepting     the    government's     waiver     is      particularly
                                                                                   claim on direct appeal and had failed to show cause for that                                appropriate because federal courts do not have the authority to
                                                                                   default and prejudice from the asserted error.                      Pet. App. D3-D5.        impose a sentence without legislative authorization, and thus an
                                                                                   Although the government asserted procedural default as a defense                            error resulting in a sentence that exceeds the statutory maximum
                                                                                   to petitioner's vagueness claim when it responded to his Section                            validly       authorized    by Congress     for   an   offense    implicates
                                                                                   2255 motion in January 2013,               this Court subsequently agreed to                separation-of-powers concerns.        See Welch, slip op. 13-14 ("[A]
                                                                                   decide whether the ACCA's residual clause was unconstitutionally                            court        • * ♦   is prohibited from imposing criminal punishment
                                                                                   vague and held that it was.              See Johnson, 135 S. Ct. at 939; 135                beyond what Congress in fact has enacted by a valid law.").
                                                                                   S. Ct. at 2557.           The court of appeals denied a COA shortly after                   Johnson and Welch have now made those concerns manifest in this
                                                                                   Johnson       was   decided    without     requesting       a   response    from     the    case.        These significant separation-of-powers concerns overcome
                                                                                   government.         The government therefore did not invoke procedural                      any prudential interests ordinarily furthered by procedural
                                                                                   default as a basis for denying a COA in the court of appeals,                               default principles.
                                                                                   and the government does not seek to assert procedural default at                                    b.     Petitioner has also made a "substantial showing" that
                                                                                   this stage of the proceedings.                                                              his sentence reflects the "denial of a constitutional right.
                                                                                           The     United    States   now    expressly       waives    any    procedural       Slack, 529 U.S. at 483-484.          To the extent that petitioner's
                                                                                   default defense against petitioner on his Johnson claim.                            This    ACCA sentence rests on the residual clause — the basis on which
                                                                                   Court should accept that waiver, and the court of appeals should                            the court of appeals upheld it — it violates due process under
                                                                                   reconsider whether to grant a COA in light of the government's                              Johnson.       And as discussed above, a sentence imposed beyond the
                                                                                   position on procedural default.                See Wood v. Hilvard, 132 S. Ct.              statutory maximum validly authorized by Congress implicates
                                                                                   1826,    1830    <2012)    (court may not "bypass,          override,     or excuse"        constitutional separation-of-powers concerns.
                                                                                   the government's "deliberate waiver of a                    • • •    defense" in a
                                                                                                                          13                                                                            14
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                                                                                         The court of appeals now will need to decide the question                                                  COHCLUSIOH
                                                                                   it   left    open    on   remand   after    (Curtis)   Johnson    —   whether          The petition for a writ of certiorari should be granted,
                                                                                   petitioner's    prior     conviction   for    resisting   an     officer   with   the judgment below vacated, and this case remanded for further
                                                                                   violence is a       violent felony under the ACCA's elements clause.              consideration in light of the government's position and in light
                                                                                   But that is a question to be addressed after granting a COA.                      of Welch V.   United States, No. 15-6418.
                                                                                   See Welch,    slip op.     15   (noting that "the parties continue to                  Respectfully submitted.
                                                                                   dispute whether Welch's strong-arm robbery conviction qualifies
                                                                                                                                                                                                      DONALD B. VERRILLI,   JR.
                                                                                   as a violent felony under the elements clause of the Act, which                                                      Solicitor General
                                                                                   would make Welch eligible for a 15-year sentence regardless of                                                     LESLIE R. CALDWELL
                                                                                                                                                                                                        Assistant Attorney General
                                                                                   Johnson." but that "[ojn the present record" and "in light of
                                                                                                                                                                                                      DAVID B. GOODHAHD
                                                                                   Ithe] holding that Johnson is retroactive in cases on collateral                                                     Attorney
                                                                                   review,   reasonable jurists could at least debate whether Welch
                                                                                                                                                                     MAY 2016
                                                                                   is entitled to relief).
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                                           No. 15-7915

                      IN THE SUPREME COURT OF THE UNITED STATES



                          ANTHONY GRANT JACKSON, PETITIONER

                                                  V.



                               UNITED STATES OF AMERICA




                                CERTlFI(;ATgpFSE;^\^CE

        It is hereby certified that allparties required to beserved have been served withcopies of
the BRIEF FOR THE UNITEDSTATES,by first-class mail, postage prepaid,this 2nd day of
May. 2016.

                                  |Sce Attached Service Lbl|




                                                            Donald B. Verrilli. Jr.
                                                           Sftlicitqir.Gi?nCT!M
                                                           Counsel of Record


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                                                           (202)514-2217

May 2.2016

        Dueto the continuing delay in receiving incoming mailat the Department ofJustice, in
addition to mailingyour briefvia first-class mail,viewouldappreciate a fax or emailcopy of
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Thimk you foryour consideration ofthis request.
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TRULINCS 48883019 - AMODEO, FRANK T - Unit: COL-B-C


FROM: Davis, Christie
TO: 48883019
SUBJECT: Ouhart pt 1
DATE: 09/14/2016 05:51:05 PM

DONALD DUHART,
Movant v.
UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF FLORIDA
CASE NO. 16-61499-CIV-MARRA (r.riminal rasAJUn 08-60309-CR-MARRA)
UNITED STATES OF AMERICA.
Respondent.                                                  /
OPINION AND FINAL ORDER
GRANTING MOTION TO CORRECTSENTENCE PURSUANT TO 28 U.S.C. § 2255
This matter is before the Court upon Movant Donald Duharts Motion to Con-ect Sentence Pursuant to 28 U.S.C. § 2255 (DE 1;
CR-DE 263).1 For the reasons that follow, the motion is granted.
I. Background and Procedural History
On March 19,2009, Duhart entered a guilty plea to charges of conspiracy to commit a Hobbs Act robbery in violation of 18
U.S.C. § 1951(a) (Count 1 of the indictment)and using and carrying a firearm during and in relation to a "crimeof violence" in
violation of 18 U.S.C. § 924(c) (Count 3 of the indictment). (CR-DE 57; CR-DE 58.) On June 8,2009, the Court sentenced
Duhart to 87 months imprisonment as to Count 1 and 60 months imprisonment as to Count 3, with the tenns to run
consecutively for a total of 147 months imprisonment. (CR-DE 87; CR-DE 88.) The Court also sentenced Duhart to a 3-year
tenn of supervised release after imprisonment on Count 1 and a five- year term of supervised release on Count 3, with the
temfis to run concuoently. (CR-DE 87; CR-DE
1 Citations to "CR-DE" refer to entries on the criminal docl<et in Case No. 08-60309-CR-MARRA. Citations to "DE" refer to
entries on the civil docl<et in Case No. 16-61499-CIV-MARRA.
  88.)
On June 10,2009, Duhart filed a notice of appeal (CR-DE 89) and on December 3,2010, the
United States Court of Appeals for the Eleventh Circuit issued its mandate affirming Duhart s sentence and conviction. (CR-DE
249.) In doing so, the Eleventh Circuit granted Duhart s counsel s motion to withdraw, which was accompanied by a brief
pursuant to Anders v. Califomia, 386 U.S. 738 (1967). The Eleventh Circuit stated that its "independent examination of the
entire record reveals no arguable issues of merit."(CR-DE 249 at 4.) The United States Supreme Court subsequently denied
certiorari. (CR-DE 248.)
Duhart filed his first petitionfor habeas corpus relief pursuant to 28 U.S.C. § 2255 on October 28,2011. (DE 1 in Case No. 11-
CV-62319-KAM.) Adopting the Magistrate Judge s recommendation, this Court denied the motion. (DE 14 in Case No. 11-cv-
62319-KAM.) The Eleventh Circuit affirmed, and the Supreme Court denied certiorari. (DE24: DE 26 in Case No. 11-cv-62319-
KAM.) Neither in Duhart s direct appeal, nor in his initial § 2255 petition, did Duhart argue that the residual clause in the
definition of "crime of violence" in 18 U.S.C. § 924(c)(3)(B) is unconstitutionallyvague. Of course, had he done so, binding
precedent at the time would have compelled rejection of his argument. James v. United States, 550 U.S. 192,211 n.6 (2007),
ovenojled by Johnson v. United States, 135 S. Ct. 2551, 2563 (2015).
On June 24,2016, Duhart filed his second petition pursuant to § 2255, asserting that he is actually innocent of his conviction for
using and carrying a firearm during and in relation to a "crime of violence" in violation of 18 U.S.C. § 924(c) based on the
Supreme Court s recent decision in Johnson v. United States, 576 U.S. , 135 S. Ct. 2551 (June 26,2015). (DE 1; CR-DE
263.) On August 3, 3016, the Eleventh Circuit granted Duhart s application to authorize this Court to consider
his second § 2255 petition, finding that Duhart made a prima facie showing that his petition contained a claim involving a new
rule of constitutional law, made retroactive to cases on collateral review by the Supreme Court, that was previously
unavailable.2 (DE 9.) Pursuant to this Court s order to show cause, the Govemment filed a response opposing Ouhart s § 2255
petition on August 12, 2016. (DE 11.) Duhart replied on August 18,2016 (DE 12.), and the petition is now ripe for review.
II. Legal Standard
Section 2255 authorizes a prisoner to move a court to vacate, set aside, or correct his sentence where "the sentence was
imposed in violation of the Constitution or laws of the United States, or... the court was without jurisdiction to impose such
sentence, or... the sentence was in excess of the maximum authorized by law, or is otherwise subject to collateral attacl<." 28
U.S.C. § 2255(a). For the district court to grant relief in a § 2255 action raising the vagueness of the residual clause as the
basis for relief, the movant must show that he was convicted or sentenced using the residual clause and that the use of that
clause made a difference in the sentence or conviction. See In re Moore, No. 16-13993-J, 2016 WL 4010433, at *4 (11th Cir.
July 27,2016) (per curiam).3
2 For the reasons stated in the Eleventh Circuit s decision, the district court agrees with the Eleventh Circuit s determination
that Duhart has made a prima facie showing that his application satisfies § 2255(h)(2). See In re Moss, 703 F.3d 1301,1303
(11th Cir. 2013) (noting that district court must decide the § 2255(h) issue de novo).
3 Although Moore only speaks of the sentence, that is because Moore involved the Armed Career Criminal Act s residual
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clause. Here, § 924(c) s residual clause is at issue and thus it affects the conviction and the sentence.
III. Discussion A. Overview of the ACCA, Johnson, and § 924(c)
Underthe Armed Career Criminal Act of 1984 ("ACCA"), a defendantconvicted of being a felon in possession of a firearm faces
more severe punishment ifhe has three or more previous convictions for a "violent felony." 18 U.S.C. § 924(e)(1). The ACCA
defines "violent felony" to include"any crime punishable by imprisonment for a temi exceeding one year" that "(i) has as an
element the use, attempted use, or threatened use of physical force against the person of another; or (ii) is burglary, arson, or
extortion, involves use of explosives, or otherwiseinvolves conduct that presents a serious potential riskof physical injury to
another." 18 U.S.C. § 924(e)(2)(B).
Relevantly, the last 15 words of this definition is known as the residual clause. The portion of the definition preceding the
residual clause, which lists specific offenses, is called the enumerated crimes clause, and first subsection of the definition
immediately preceding both the residual and enumerated crimes clauses is called the elements clause. In Johnson, the
Supreme Court overruled its prior precedent and held that the residual clause of the ACCAs definition of "violent felony," 18
U.S.C. § 924(e)(2)(B)(ii), is unconstitutionally vague. 135 S. Ct. at 2557, 2563. Less than a year later, in Welch v. United States,
the Supreme Court held that "Johnson announced a substantive mle that has retroactive effect in cases on collateral review."
136 S. Ct. 1257,1268 (2016).
Duhart was not sentenced under the ACCA, but rather was convicted of a violation of 18 U.S.C. § 924(c). Section 924(c)(1)(A)
provides a five-year mandatory minimumsentence4 for any person who "during and in relation to any crime of violence or drug
trafficking crime... for which
4 The mandatory minimum sentence Is Increased Ifother facts are present, such as if the firearm is discharged or ifthe firearm
Is a certain type of fireamn. See generally 18 U.S.C. § 924(c)(1)(A) (C).
the person may be prosecuted in a court of the United States, uses or cam'es a firearm, or who, in furtherance of any such
crime, possesses a firearm." Such sentence shall be "in addition to the punishment provided for such crime of violence or drug
trafficking crime" and may not run concun-entiy with "any term of imprisonment imposed for the crime of violence or drug
trafficking crime during which the fireann was used, earned, or possessed." 18 U.S.C. § 924(c)(1)(A), (D)(ii).
Though not identical, the definition of "crime of violence" in § 924(c) is substantially similar to the definition of "violentfelony"
under the ACCA. Under § 924(c), a "crime of violence" is a felony that:
(A) has as an element Uie use, attempted use, or threatened use of physical force against Uie person or property of another, or
(B) that by its nature, involves a substantial risk that physical force against the person or property of another may be used in the
course of committing the offense.
18 U.S.C. § 924(c)(3). As with Uie ACCA, the first prong of this definition is referred to as tiie elements clause and the second
prong is referred to as the residual dause. Unlike the ACCA, § 924(c) s definition of "crime of violence" does not include a list of
enumerated crimes before reaching the residual dause. While the construction of tiie residual clause in § 924(c)(3)(B)is not
identical to that in § 924(e)(2)(B)(il), both residual clauses include language that requires a court to consider the "ordinary case"
of the offense and then assess the associated "risk" posed by the "judicially imagined ordinary case." Johnson, 135 S. Ct. at
2557-58. Based on the similarity between residual clauses in § 924(c)(3)(B) and § g24(e)(2)(B)(ii), Duhart contends that § 924
(c) s residual clause Is unconstitutionallyvague for the same reasons the Supreme Court found § 924(e)(2)(B)(ii) to be
unconstitutionally vague in Johnson, rendering him "actually innocent" of his § 924(c) conviction.
B. Procedural Default
The Govemment contends that the Court should not reach tiie merits of Duhart s § 2255 petition because Duhart waived tiie
argument that § 924(c) s residual clause is unconstitutionallyvague by not raising it in his direct appeal. According to the
Government, this procedural default bars Duhart from seeking the present relief, regardless of whether Duhart was convicted
under an unconstitutionally vague statute. Thus, according to the Govemment, Duhart must remain imprisoned solely because
he did not raise an argument on appeal that was foreclosed by Supreme Court precedent at the time and would have been
deemed frivolous.5 Under tills view, Duhart and a multitude of similariy situated defendants serving sentences under tiie
residual clauses of tiie ACCAor § 924(c)) must remain confined because each failed to raise a frivolous argument on appeal in
order to preserve a potential future challenge to a sentence in tiie event that the Supreme Court ovemiled its precedenl.6 The
Court rejects the Govemment s position.
"Under the procedural default rule, a defendant generally must advance an available challenge to a criminalconviction or
sentence on direct appeal or else tiie defendant is barred from presenting tiiat claim in a § 2255 proceeding." Lynn v. United
States, 365 F.3d 1225,1234 (11th Cir. 2004) (per curiam). Importantly, there are two exceptions to tiiis rule. "Under the first
exception, a
5 In granting Duhart s counsel s motion to withdraw based on her Anders brief on Duhart s direct appeal, the Eleventh Circuit
necessarily found that Duhart did not have any nonfrivolous arguments available to him at the time.
6 The Court notes ttiat in oUier§ 2255 cases raising Johnson as tiie ground for relief, tiie Govemment has expressly chosen to
"waive" the procedural default defense. See, e.g.. United States Response in Support of Petitioner s Motion to Vacate
Sentence at 3, Johnson v. United States, Case No. 16- 80775-cv-MARRA (S.D. Fla. June 30,2016) (ECF No. 8) ("[Tlhe United
States has made a considered decision not to raise a procedural default defense in tills case.") (differentJohnson). It is unclear
to the Court why the Government would not take a consistent position on this issue.
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defendant must show cause for not raising the claim of envr on direct appeal and actual prejudice from the alleged error." Id.
(emphasis omitted).The second exception applies where "a constitutional violation has probably resulted in the conviction of
one who is actually innocent." Id. (citations omitted). Both exceptions apply here.
The first exception to the procedural default rule where a defendant shows cause for not raising the claim and actual prejudice
from the alleged en-or protects litigants, such as Duhart, who did not predict that six years after his direct appeal the Supreme
Court would overrule settled precedent In two cases and hold the ACCA s residual clause void for vagueness. Cause for not
raising a claim can be shown where the claim "is so novel that its legal basis [wa]s not reasonably available to counsel."
Bousley v. United States, 523 U.S. 614,622 (1998) (quoting Reed v. Ross, 468 U.S. 1,16 (1984). Where the Supreme Court
explicitly ovenules well-settled precedent and gives retroactive application to that new rule after a litigant s direct appeal, "[b]y
definition" a claim based on that new rule cannot be said to have been reasonably available to counsel at the time of the direct
appeal.7 Reed, 468 U.S. at 17. That is precisely the circumstance here. Johnson ovenuled precedent, announced a new rule,
and the Supreme Court gave retroactive application to that new rule. The actual prejudice that would result from finding a
procedural default here is obvious if Duhart is connect that Johnson applies to § 924(c) s residual clause, then he should not
have been convicted and sentenced for a violation under § 924(c). Accordingly, the procedural default rule is inapplicable
7 The Court also rejects the Govemment s argument that despite binding Supreme Court precedent to the contrary at the time
of his appeal the claim that the residual clause is unconstitutionally vague was not novel because the Supreme Court had
"wrestled with the parameters of ACCA s residual clause" and therefore the vagueness argument was somehow available. (DE
11 at 5.) The Govemment s argument squarely contradicts Reed. Again, the Court highlights that even the Eleventh Circuit held
that Duhart had no nonfrivolous arguments available to him on his direct appeal.
to Duhart s claim.
The second exception, for "actual innocence," also applies to Duhart s claim and bars
procedural default. As discussed infra, Duhart is actually innocent of his § 924(c) conviction because it was based on the
application of § 924(c) s residual clause, which the Court concludes in Part C is unconstitutionally vague under Johnson. This is
factual innocence rather than mere legal innocence, as Duhart s § 924(c) conviction relies on the fact that he was convicted of a
predicate "crime of violence" when he actually was not.8
C. Johnson s Applicability to § 924(c) s Residual Clause
The interaction between Johnson and the § 924(c) residual clause is an unresolved question in the Eleventh Circuit. The
Eleventh Circuit has granted a certificate of appealabilityto a movant seeking to challenge a conviction under § 924(c) but left
open the legal question of whether or how Johnson affects a § 924(c) conviction for resolution in the districtcourt, noting that
the "law is unsettled." See In re Pinder, 824 F. 3d 977,979 (11th Cir. June 1,2016) (per curiam). As such, this Court is faced
with deciding whether a "new rule of constitutional law" is applicable to invalidate Duhart s conviction under the § 924(c)
residual clause. Id.
In Johnson, the Supreme Court held the residual clause of the ACCAs definition of a "violentfelony," § 924(e)(2)(B)(ii), void for
vagueness in violation of the Due Process Clause of the Constitution. The Supreme Court explained that the ACCA requires a
court to use the "categorical approach" to determine whether a crime "othenwiseinvolves conduct that presents a serious
potential risk of physical injury to another." 135 S. Ct. at 2557. "Under the categorical approach, a court
8 As discussed infra, conspiracy to commit a Hobbs Act robbery does not qualify under the elements clause of § 924(c) s
definition of "crime of violence."
8
assesses whether a crime qualifies as a violentfelony in terms of how the law defines the offense and not in terms of how an
individual offender mighthave committed it on a particular occasion." Id. (citation omitted). Therefore, a court is required "to
picture the kind of conduct that the crime involves in the ordinary case, and to judge whether that abstraction presents a
serious potential risk of physical injury" to determine whether a crime was a "violent felony." Id. This task went "beyond deciding
whether creation of risk is an element of the crime... because, unlike the part of the definition of a violent felony that asks
whether the crime has as an element the use... of physical force, the residual clause asks whether the crime involves
conduct that presents too much risk of physical injury." Id.
Following this reasoning, the Supreme Court held the residual clause was unconstitutionally vague on two grounds. First, tying
"the judicial assessment of risk to a judicially imagined ordinary case of a crime, not to real-worid facts or statutory elements,"
"leaves grave uncertainty about how to estimate the risk posed by a crime." Id. That is, there was "no reliable way" for a court
"to choose between these competing accounts" of what the "ordinary case" of a particular crime entailed. Id. at 2258. Second,
the residual clause left"uncertainty about how much riskittakes for a crime to qualify as a violent felony." Id. As the Supreme
Court explained, "P]t is one thing to apply an imprecise serious potential risk standard to real-worid facts; it is quite another to
apply it to a judge-imagined abstraction." Id. From this, the Supreme Courtheld that "[b]y combining indeterminacy about how
to measure the risk posed by a crime with indeterminacy about how much risk it takes for the crime to qualify as a violent
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felony, the residual clause produces more unpredictability and arbitrariness than the Due Process Clause tolerates." Id.
With the constitutional infinnilies raised in Johnson in mind, the Court tums to § 924(c)(3)(B). Though slightly different in their
language, both § 924(e)(2)(B)(ii) and § 924(c)(3)(B) operate as a means by which a court is charged with determining whether
the relevant risl< associated with the "ordinary" manifestation of an offense is sufficiently "serious" or "substantial"to find that a
"crime of violence"or "violent felony" occun-ed. The statute before us, § 924(c)(3)(B), defines a "crime of violence" using a
residual clause which focuses on "substantial risk that physical force against the person or property of another may be used in
the course of committing the offense." The statute at issue in Johnson, § 924(e)(2)(B)(ii), uses both enumerated offenses and
consideration of whether an offense "involves conduct that presents a serious potential risk of physical injury to another" to
define "violentfelony." These minor differences in structure and language do not alter the similar operation of § 924(c) s
residual clause as compared to that of the ACCA s residual clause.9 Accordingly, § 924(c)(3)(B) is unconstitutionally vague for
the same reasons articulated in Johnson.
Like the ACCA s residual clause, § 924(c) s residual clause "ties the judicial assessment of risk to a judicially imagined ordinary
case of a crime, not to real-worid facts or statutory elements." Id. at 2257. This "ordinary case" analysis is mandated by the text
of § 924(c) s residual clause, which requires a court to determine whether the particular offense "by its nature" involves a
particular level of risk. 18 U.S.C. § 924(c)(3)(B). Identical to the application of the ACCA s residual clause, under § 924(c) s
residual clause a court must similariy speculate as to what the "ordinary case" of a particular offense entails.
Further, like the ACCA s residual clause, § 924(c) s residual clause "leaves uncertainty about
9 The Eleventh Circuit has noted both that the language of § 924(c) and § 924(e) are "very similar" and that both statutes
operate as penal statutes, "requir[ing] higher sentences once a court decides that an offense is a crime of violence." In re
Pinder, 824 F.3d at 978.
how much risk it takes for a crime to qualify as a violent felony." Johnson, 135 S. Ct. at 2558. The ACCA s residual clause uses
the phrase "serious potential risk" and § 924(c) uses the phrase "substantial risk" combined later in the definition with the
phrase "may be used." These differences are insignificant, though, as both phrases amount to the same imprecise standard.
See United States v. Keelan, 786 F.3d 865, 871 n.7 (11th Cir. 2015) (noting that the residual clause of 18 U.S.C. § 16(b), which
is identical to § 924(c) s residual clause, is "analogous" to the ACCAs residual clause). More importantly, here, both standards
are applied to "a judge-imagined abstraction" rather than "real-worid facts," which was key to Johnson s reasoning. Johnson,
135 S. Ct. at 2558. In short, § 924(c) s residual clause combines "indeterminacy about how to measure the risk posed by a
crime with indeterminacy about how much risk it takes for the crime to qualifyas a [crime of violence]" and thus like the ACCA s
residual clause it "produces more unpredictability and arisitrariness than the Due Process Clause tolerates." Id.
The Court rejects the Government s arguments to the contrary. The Govemment contends that the residual clause of § 924(c)
(3)(B) is not void for vagueness, emphasizing the differences between it and the residual clause of § 924(e)(2)(B)(ii) that was
found void for vagueness in Johnson. As discussed supra, however, these distinctions are to no avail. Whatever differences in
language, the operation of the residual clause in § 924(c)(3)(B) is no different than that found too vague to provide adequate
due process in Johnson. Though the temporal scope of § 924(c)(3)(B) is comparatively narrower, limited to the "risk of physical
force" that "may be used in course of committing the offense" rather than the broader "risk of physical injury to another"
considered under § 924(e)(2)(B)(ii), this nanrow disf notion does not make otherwise vague language clear. The residual clause
of § 924(c)(3)(B), likethat of § 924(e)(2)(B)(ii), still requires a court to assess the nature of so-called "ordinary" conduct and
assess the level of risk associated therewith, giving penal authority to conduct that may well be nothing short of the judicial
imagination. The vagueness accompanying that analysis is well-beyond the Due Process required under the Constitution and is
accordingly void.
D. Whether Duhart s Conviction and Sentence Relied on the Unconstitutional Residual Clause
It is clear that Duhart s conviction and sentence under § 924(c) relied on the residual clause portionof § 924(c) s definition of
"crime of violence." The Court agrees with Duhart s argument that conspiracy to commit Hobbs Act robbery is not a crime of
violence under the elements clause of § 924 s definition of "crime of violence," and only qualified for an enhanced sentence
under § 924(c)(3)(B).
In response, the Govemment argues that Duhart failed to meet his burden of proof that his sentence was under the residual
clause of § 924(c)(3)(B). Describing the Eleventh Circuit s precedent relating to Johnson challenges, the Govemment notes the
two-partanalysis of legal and factual considerations guiding this Court s de novo review under § 2255(h), emphasizing that the
factual analysis "requires the Court to decide whether a prisoner s ACCA-enhanced sentence infact depended on the residual
clause voided by Johnson ...." (DE 11, p. 14.) Applying this standard, the Govemment argues that the record and relevant
precedent do not show that the sentencing court relied on the residual clause of § 924(c)(3)(B) and, as such, Duhart has failed
to meet his burden of proof. See Moore, 2016 WL 4010433 at *3-*4.
The Govemment s burden of proof argument is resolved, however, not by the improper expedition into the movant s conduct
but instead by considering the predicate offense under the categorical approach as a question of law. See United States v.
McGuire, 706 F.3d 1333,1336-37
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   FROM: Davis, Christie
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   SUBJECT: Duhart pt3of3
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   (11th Cir. 2013). Duhart s conspiracy to commit a Hobbs Act robbery in violation of 18 U.S.C. § 1951(a), the predicate offense
   on which his violation of 18 U.S.C. § 924(c) is based, cannot be a "crime of violence" under the elements clause of § 924(c).
   "To convict on a Hobbs Act conspiracy, the govemment must show that (1) two or more people agreed to commit a Hobbs Act
   robbery; (2) that the defendant knew of the conspiratorial goal, and (3) that the defendant voluntarily participated in furthering
   that goal." United States v. Ransfer, 749 F.3d 914, 929 (11th Cir. 2014). In these elements, there is neither a requirement that
   the defendant engage in an overt act in furtherance of the conspiracy. United States v. Pistone, 177 F.3d 957,959-60 (11th Cir.
   1999), nor that a defendant was "even capable of committing" the underlying offense. Ocasio v. United States, 136 S. Ct. 1423,
   1432 (2016). Applying the categorical approach, then, a conviction for conspiracy to commit a Hobbs Act robbery in violation of
   § 1951(a) does not have "as an element the use, attempted use, or threatened use of physical force against the person or
   property of another."18 U.S.C. § 924(c)(3)(A) (describing the elements of a felony offense that constitute a "crime of violence").
   As such, a conspiracy to commit a Hobbs Act robbery does not qualifyas a crime of violence under § 924(c) s elements clause.
   Duhart s § 924(c) conviction thus could only have qualified under the unconstitutionally vague residual clause of § 924(c)(3)(B).
  /IV. Conclusion
^Accordingly, it is hereby ORDERED AND ADJUDGED that Movant spetition (DE 1; CR-
<7\dE 263) is GRANTED. Movant sconviction and sentence as to Count 3of the indictment              VACAT^. The C)ourt directs the
   parties to arrange a telephoni^status conference on Monday, September 12, 2016 to discS^ss the^arli@5~Tespeptive positions
   as to how the Court
   should proceed in view of this ruling.
   The Cleri< shall close this case.
   DONE and ORDERED in Chambers at West Palm Beach, Palm Beach County, Florida this
   9th day of September, 2016.
                                           KENNETH A. MARRA
   United States District Judge
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